     Case 1:17-cv-03347-LMM Document 12 Filed 02/13/18 Page 1 of 3




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

REED GINN,                                )
                                          )
                         Plaintiff,       )
                                          )   CIVIL ACTION NO: 1:17-cv-
   v.                                     )   03347-LMM-RGV
                                          )
E-VERIFILE.COM, INC,                      )
                                          )   JURY TRIAL DEMANDED
                         Defendant.       )
                                          )
                                          )
                                          )

          STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff Reed Ginn and Defendant E-Verifile.com, Inc., by their

attorneys and pursuant to Federal Rule of Civil Procedure 41, hereby

stipulate that Plaintiff’s claims against Defendant are dismissed with

prejudice, with each party to bear its own costs and fees.

Dated: February 13, 2018

/s/ Jeffrey B. Sand                           /s/ Henry Perlowski
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     Case 1:17-cv-03347-LMM Document 12 Filed 02/13/18 Page 2 of 3




Attorneys for Plaintiff
     Case 1:17-cv-03347-LMM Document 12 Filed 02/13/18 Page 3 of 3




            IN THE UNITED STATES DISTRICT COURT
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REED GINN,                  )
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  v.                        ) 03347-LMM-RGV
                            )
E-VERIFILE.COM, INC,        )
                            ) JURY TRIAL DEMANDED
                 Defendant. )
                            )
                            )
                            )
               CERTIFICATE OF SERVICE

      I certify that on February 13, 2018, I electronically filed the foregoing

Stipulation of Dismissal with Prejudice with the Clerk of Court using the

CM/ECF system, which will automatically send e-mail notification of such

filing to all attorneys of record:



                                                 By: s/ Jeffrey B. Sand
                                                     Counsel for Plaintiff
